Case 2:23-cv-01394-SMB-ESW Document 80 Filed 06/12/25 Page1of54

FILED = LODGED
Mark Houser RECEIVED _—
9384 E Via Del Sol Dr aus pisTRICT COURT
DISTRICT OF ARN EPUTY
Scottsdale, Arizona 85255-5071 BY

mhouser@ gcbscorp.com
602-799-3161

Plaintiff (Pro Se)

UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA

Mark Houser, Plaintiff,

v.

City of Scottsdale, et al., Defendants.

Case No.: 2:23-CV-01394

AMENDED COMPLAINT

I. PARTIES
1. Plaintiff:
Mark Houser is an individual residing at 9384 E Via Del Sol Dr, Scottsdale,

Arizona 85255-5071. At all relevant times, Plaintiff was the owner and
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operator of Grand Canyon Business Solutions, located at 9015 East Pima
Center Parkway, Scottsdale, Arizona. Plaintiff brings this action in his
individual capacity as a resident and business owner, and as the person
subjected to the unlawful acts described herein. Plaintiff has exhausted
available administrative remedies by submitting a formal complaint to the
United States Department of Justice Civil Rights Division, assigned Report
Number 229312-KFP, as corroborated by the DOJ’s acknowledgment and
supporting exhibits [1],[4],[11].
2. Defendants:
¢ City of Scottsdale: A municipal corporation organized under the laws
of the State of Arizona, responsible for the policies, practices, and
customs of its police department and for the actions of its employees
and agents, including law enforcement officers acting within the
scope of their employment. The City is alleged to have maintained or
condoned policies and practices that enabled the violations described
herein, including failure to address Plaintiffs grievances, to
implement adequate training or supervision regarding emergency
mental health petitions, and to ensure compliance with discovery and
evidence preservation obligations. The City’s ongoing refusal to

produce key evidence, participation in spoliation of evidence, and
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discovery misconduct are central to Plaintiffs
claims [1],[4],[5],[6],[7].[8],[9],[10],[12],[15],[16],[17],[18],[20].

« Detective Timothy Koerner, Sergeant Scott Williamson, Sergeant
Marcus Dunton, Sergeant Brian Campos, Officer Kelly Wills,
Detective Evelyn Hernandez, Sergeant Peter Michaels, Officer
Michelle Carlucci, Officer Kalyn Tucker, Officer Nate
Stephenson: All sued in their individual and official capacities for
their roles in the events and subsequent discovery/spoliation [1],[20].

¢ Jane and John Does 1-10: Individuals/entities whose identities are
presently unknown but who are believed to have participated in,
authorized, directed, or failed to prevent the conduct described
herein. Each is sued in their individual and official capacities as

appropriate [1].

II. JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over this action pursuant to 28
US.C. § 1331, as Plaintiff's claims arise under the Constitution and laws of
the United States, including 42 U.S.C. § 1983, the Fourth and Fourteenth

Amendments, and related federal statutes.
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2. This Court also has supplemental jurisdiction over Plaintiff's state law
claims pursuant to 28 U.S.C. § 1367, as such claims are so related to the

federal claims that they form part of the same case or controversy.

3. Venue is proper in this Court under 28 U.S.C. § 1391(b) because a
substantial part of the events or omissions giving rise to the claims occurred
in Scottsdale, Arizona, within this judicial district, and all Defendants

reside in or are employed by entities located within this district [1],[4],[11].

Il. FACTUAL ALLEGATIONS

A. Unlawful Seizure and Involuntary Commitment
¢ On or about July 15—16, 2021, Plaintiff was seized and involuntarily
committed based on a knowingly false emergency mental health petition
prepared by Detective Koerner, without direct observation, lawful pre-

petition screening, or probable cause as required by Arizona law and the

Arizona Administrative Code [1],[4],[11].

¢ The petition and related documents exhibited irregularities (forged
signatures, inconsistent ink colors, improper notarizations), suggesting

forgery and procedural misconduct [1],[5],[6].
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¢ Plaintiff's attending physician, Dr. John Scialli, provided medical records
and a professional opinion directly contradicting the claims made in the

emergency petition, confirming Plaintiff did not meet statutory criteria for

involuntary evaluation [4],[12].

B. Pattern of Harassment, Collusion, and Abuse of Process

¢ The commitment was part of a broader pattern of harassment, document
irregularities, and coordinated actions involving SPD officers and

Plaintiff's domestic partner, Alia Houser [1],[5],[6],[14].

¢ Defendants misused legal procedures, including the mental health petition
and pickup order process, to harass, intimidate, and unlawfully detain
Plaintiff, and to obstruct justice and conceal the lack of lawful basis for

their actions [1],[4],[5],[6].

C. Discovery Misconduct, Spoliation, and Evidentiary Suppression
¢ Since April 2025, Plaintiff has served multiple formal discovery and
preservation requests (April 30, 2025 supplemental request, May 13, 2025
meet-and-confer, June 6, 2025 follow-up), seeking production of critical
evidence (AVL data, BWC footage, petition metadata, notary logs, internal

communications) [4],[5],[6],[7][8].[9].[10],[13],[14],[15],[16],[18).
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« The City repeatedly refused to produce these materials, offered shifting or
contradictory justifications, and failed to preserve evidence despite being
on formal notice and the existence of litigation

holds [4],[5],[6],(71,(81,(9],[10],[13],[14],[15],[16],[18].

¢ Plaintiff's requests were met with procedural denials, incomplete responses,
and admissions that key evidence (91 1/radio recordings) was deleted or

unavailable, in violation of federal and state
law [4],[5],[6],[7],[8],(9],[10],[13],[14],[15],[16],[18].

¢ Plaintiff filed a motion to compel discovery, for sanctions, and for an
adverse inference instruction, seeking judicial intervention to address
ongoing noncompliance, spoliation, and

obstruction [4],[5],[6],{71,8],(9],{10],[13],[14],(15],[16],[18].

D. Defamation, Libel Per Se, and Invasion of Privacy
e Defendants, including SPD officers and Alia Houser, disseminated false
statements about Plaintiffs mental health and dangerousness, including
through internal city bulletins and “HOTLINE ALERT” communications,
causing significant reputational, economic, and emotional

harm [2],[4],[5],[6],[14],[16],[17],[21].
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¢ These communications were distributed to hundreds of City employees and
staff, and in some instances, to Plaintiff's business associates and members

of the public, without any judicial finding, medical basis, or lawful

predicate [2],[4],[14],[17].

e The statements at issue impute to Plaintiff conduct, characteristics, or
conditions incompatible with the proper exercise of his lawful business,
trade, or profession, and/or tend to injure him in his occupation and

reputation [2],[4],[14],[17].

« The statements are defamatory on their face and constitute libel per se under

Arizona law, as they:

¢ Charge Plaintiff with a crime or conduct that would subject him to

/

hatred, contempt, or ridicule;
¢ Impugn Plaintiff's fitness for his business or profession;

¢ Falsely allege mental illness or dangerousness in a manner that is

inherently damaging to reputation [2],[4],[14],[17].

e Defendants acted with actual malice or, at a minimum, reckless disregard for
the truth, as evidenced by the lack of any judicial or medical finding, the
falsity of the statements, and the coordinated nature of the

publications [2],[4],[14],[17].
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¢ Plaintiff suffered presumed and actual damages, including reputational

harm, business losses, emotional distress, and economic

loss [2],[4],[14],[17].

E. Exhaustion of Remedies

¢ Plaintiff has exhausted available administrative remedies by submitting a
formal complaint to the DOJ Civil Rights Division (Report No. 229312-
KFP), as corroborated by the DOJ’s acknowledgment and supporting

exhibits [1],[4],[9],[11],[12].

IV. CLAIMS FOR RELIEF

1.Fourth Amendment (42 U.S.C. § 1983): Unreasonable seizure and
detention without probable cause or lawful justification [1],[4],[11].

2.Fourteenth Amendment (42 U.S.C. § 1983): Deprivation of liberty without
due process [1],[4],[11].

3.Monell Liability (42 U.S.C. § 1983): Municipal liability for policies,
customs, or practices enabling constitutional violations and discovery
misconduct [1],[4],[5],[6],[7],[8],[91,[10],[12],[15],[16],[17],[18],[20].

4. Violation of Arizona Law: Submission of false or unlawful emergency

mental health petitions in violation of A.R.S. §§ 36-520, 36-521, 36-
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525(A), and the Arizona Administrative Code Title 9, Chapter
21 [1],[4],[11],[17].

5. False Imprisonment and Related State Law Claims: Unlawful detention
and deprivation of liberty [1],[4],[11].

6. Conspiracy to Violate Civil Rights (42 U.S.C. § 1983): Coordinated
actions to fabricate evidence, misuse legal process, and suppress
evidence [1],[4],[5],[6],[7],[81,[91,[10],[12],[15],[16],[1 7],[18],[20].

7.Defamation (General) and Invasion of Privacy: Dissemination of false
statements and private information [2],[4],[14],[17].

8. Libel Per Se (Arizona Common Law and A.R.S. § 12-651 et seq.):

¢ UO Plaintiff realleges and incorporates by reference all

preceding paragraphs as if fully set forth herein.

¢ O Defendants—including but not limited to City of Scottsdale
employees, Scottsdale Police Department officers, and Alia
Houser—authored, approved, or disseminated false written
statements concerning Plaintiff to third parties, including
Plaintiff's business associates, employees, and internal City

personnel.

e These communications included knowingly false allegations
that Plaintiff was mentally unstable, prone to catatonia, and a

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danger to others. Several messages expressly instructed
recipients to withhold this information from Plaintiff himself,

further evidence of the intent to deceive and defame.

On July 15, 2021, the City issued a citywide bulletin titled
“HOTLINE ALERT” to approximately 2,600 municipal

employees and staff, containing:
False and stigmatizing claims about Plaintiffs mental state;

A dismissed and unrelated mugshot with added malicious

branding and falsely portrayed as current;

No supporting judicial finding, medical diagnosis, or lawful

predicate.

These statements mirrored and amplified the fabricated
emergency petition submitted by Defendant Koerner and
directly supported the unlawful detainment effort that

followed.

The statements were defamatory per se under Arizona law

_ because they:

Accuse Plaintiff of criminal conduct or behavior likely to

provoke public hatred, contempt, or ridicule;

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¢ Falsely assert mental illness and dangerousness, damaging

Plaintiffs personal and professional reputation.

e Impute characteristics or conditions incompatible with the
lawful and ethical conduct of Plaintiffs profession and

business.

e Were published intentionally and maliciously, with reckless

disregard for truth.

¢ As a direct and proximate result of these publications, Plaintiffhas
suffered presumed damage to his reputation, business, and standing
in the community, as well as actual damages including emotional

distress and economic loss.

¢ Defendants acted with actual malice or, at a minimum, reckless
disregard for the truth, as evidenced by the lack of any judicial or
medical finding, the falsity of the statements, and the coordinated

nature of the publications.

¢ Plaintiff is entitled to presumed and actual damages, punitive

damages, and all other relief as the Court deems just and

proper [2],[4],[14],[17].

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9. Abuse of Process: Misuse of legal procedures for improper
purposes [1],[4],[5],[6].
10.Spoliation of Evidence and Discovery Misconduct: Sustained pattern of
evidentiary suppression and
noncompliance [4],[5],[6],[7],[8],[9],[10],[13],[14],[15],[16],[18].
11.Failure to Address Grievances (First Amendment): Deliberate
indifference to Plaintiff's right to petition for

redress [1],[4],[5],[6]{7][8].[9].10],[12],[15],[16],[17],[18],[20].

V. RELIEF REQUESTED

Plaintiff respectfully requests that the Court grant the following relief:

1.Compensatory damages in the amount of $34 million, calculated as $2
million per day of unlawful psychiatric detainment. This figure reflects
the magnitude of harm suffered during seventeen (17) days of
involuntary confinement without lawful justification, in violation of

Plaintiff's Fourth and Fourteenth Amendment rights.

2.$10 million in compensatory damages for the extended period of targeted
harassment, surveillance, and psychological trauma inflicted between May

and July 2021. This includes a late night armed officer presence, repeated

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false reports, and an escalating pattern of fear, coercion, and retaliation,

amounting to a living state of siege. [3],[9],[12],[22].

3.$7.5 million in presumed and actual damages for libel per se, including
the July 15, 2021 citywide email disseminating false psychiatric
allegations, an unrelated mugshot with malicious framing, and other
defamatory content. These actions irreparably harmed Plaintiff's reputation,

relationships, and professional standing. [2],[4],[14],[17].

4.Punitive damages against individual Defendants whose actions were willful,
malicious, or taken with reckless disregard for Plaintiffs constitutional

rights. [3],[22].
5.Declaratory and injunctive relief, including ;

Judicial declaration that Defendants’ conduct violated Plaintiff's rights

under the Fourth, First, and Fourteenth Amendments.

Injunctive orders requiring changes to Scottsdale PD’s internal policies,
officer training protocols, and supervisory oversight mechanisms regarding

involuntary detainment, evidence retention, and retaliatory actions.
[3],[22].

6. Sanctions against the City of Scottsdale and named Defendants for discovery

misconduct and spoliation of evidence, including:

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Destruction or suppression of body-worn camera footage.

Withholding of metadata, internal communications, and legally mandated

disclosures.

[3],[4],(5],[6],(71,[8],[9],[10],[13],[14],[15],[16],[18],[22].
7. Adverse inference

instruction [3],[4],[5],[6],{7].[8],[9],[10],{13],[14],[15],[16],{181,(22}.
8. Order compelling production of all outstanding

discovery [3],[4],[5],[6],[7],[8],[9],[10],[13],[14],[15],[16],[18],[22].
9. Ongoing judicial oversight of discovery and

preservation [3],[4],[5],[6],(7],[8],(9],[10],[13],[14],[15],[16],[18],[22].
10.Attorneys’ fees and

costs [3],[4],[5],[6],[7].[8].[91,[10],[13],[14],[15],[16],[18],[22].
11.Such other and further relief as the Court deems just and

proper [3],[4],[5],[6],[7],[8],[91,[10],[13],[14],[15],[16],[18],[22].

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VI. VERIFICATION AND CERTIFICATE OF SERVICE

I, Mark Houser, the undersigned Plaintiff in the above-entitled action, verify under
penalty of perjury under the laws of the United States of America and the State of
Arizona that the foregoing Amended Complaint is true and correct to the best of
my knowledge, information, and belief, formed after reasonable inquiry.
Executed this 12th day of June, 2025.

/s/ Mark Houser

Mark Houser

Plaintiff, Pro Se

9015 E. Pima Center Parkway

Scottsdale, AZ 85258

Email: mhouser@gcbscorp.com

Phone: 602 799-3161

CERTIFICATE OF SERVICE il \L-
I hereby certify that on June 12, 2025, I caused the foregoing Amended
Complaint to be served via email upon the following counsel for Defendants:

Lori Davis

City of Scottsdale Legal Department

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Email: Idavis@scottsdaleaz.gov

Cc: legal@scottsdaleaz.gov, or any additional attorneys if applicable.

/s/ Mark Houser fo

a?
Mark Houser
Plaintiff, Pro Se Wer

(y Ve
Exhibits and Evidentiary Index:

See Table of Exhibits, including legal memorandum, DOJ submission, discovery

correspondence, motion to compel, city responses, and internal bulletins [19].

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SUMMARY OF EXHIBITS

Exhibit . «as

No. Title / Description

Exhibit DOJ Civil Rights Division Complaint

1 Acknowledgment and Tracking Report

Exhibit Email from Officer Kelly Wills to Alia Houser

2” referencing psychiatrist and mental health referrals
Exhibit Plaintiff's Declaration: May 9 Seizure and

3 Misclassification of Firearm

Exhibit Audio Transcript: July 13, 2021 Internal Affairs

4* Meeting

Exhibit May 14 & May 20 Petitions — Typed and

5 Handwritten Versions

Exhibit Forensic Timeline: Petition Discovery and

6 Retroactive Filing

Pea May 20 BWC Log — Officer Stephenson

Exhibit Email from SPD to Attorney Kristopher Califano —
8 Petition Without Service

Date(s)

Relevance / Reference

Confirms Plaintiffs administrative

Aug 2023 exhaustion and federal complaint

May 9-
July 2021

May
2021

July 13,
2021

May
2021

2023-
2025

May 20,
2021

May 20,
2021

filing. -

Proves SPD knew Plaintiff had
psychiatric care; shows coordination
with Alia regarding involuntary
petitions.

Supports Fourth and Fourteenth
Amendment claims; firearm
misclassification.

Documents Plaintiff's reporting of
misconduct and contradictions in
weapon seizure narrative.
Demonstrates contradiction between
versions, procedural fabrication, and
retroactive insertions.

Confirms pre-file discovery of
petition in Alia’s car; supports claim
of coordination.

Documents tactical deployment,

seizure of disassembled shotgun, shift

in narrative framing.

Demonstrates coercive tactic and
unlawful pressure absent court
involvement.

Discovery Source
Plaintiff

Defendants (COS-
HOUSER-000446-
459)

Plaintiff exhibit 3

Defendants (COS-
HOUSER-000070)

Plaintiff Exhibit 5

Plaintiff

Defendants (COS-
HOUSER-000066
&000067)

Plaintiff Exhibit 8
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Exhibit

No.
Exhibit
9
Exhibit
10

Exhibit
11 *

Exhibit
12
Exhibit
13
Exhibit
14
Exhibit
15

Title / Description Date(s)
._. _ May—
PCIS Contact Sheet Summary and CRT Coordination
. July 2021
a Vi etwh
Phone Records — July 13 & 15 Calls Between Alia July 2021

Houser and Sgt. Williamson

July 15, 2021 “HOTLINE ALERT” Email (contained

within Officer Tucker’s combined email disclosures July 15,
from the City’s Second Discovery Production, COS- 2021
HOUSER-044)

May 20 Exhibit Summary — False Pickup Order and May 20,

Tactical Deployment 2021
2021 /
Affidavit of Dr. John Scialli Filed
2024
. . 2023-
Discovery Requests and Preservation Demands 025
City of Scottsdale Discovery Disclosure Letter & April
Carlson Test Link Failure 2025

Relevance / Reference Discovery Source

Demonstrates pre-petition

coordination, psychiatric fraud, and oor Sa
disregard for existing care.

Shows coordination directly preceding

July 15 petition and unlawful Plaintiff
psychiatric hold.

Supports libel per se; shows Defendants (COS-

defamatory internal publication with

no lawful predicate. HOUSER-044)

Synthesizes timeline, BWC footage,
petition contradiction, and legal
violations.

Confirms Plaintiff did not meet
DTS/DTO criteria; contradicts SPD
psychiatric justification.

Plaintiff

Plaintiff

Demonstrates Plaintiffs pursuit of

evidence and City’s obstruction. Plaintiff

Proves FOIA request sabotage and
suppression of SPD’s psychiatric
records history.

Plaintiff
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Ex wb

DOJ Civil Rights Submission Confirmation

This exhibit confirms that Plaintiff Mark Houser submitted a formal complaint to the United
States Department of Justice Civil Rights Division on December 5, 2022. The submission
alleges constitutional violations arising from the July 16, 2021, involuntary seizure and
commitment initiated by Scottsdale Police Department Detective Timothy Koerner, without
lawful basis or required pre-petition screening under Arizona law.

DOJ Civil Rights Report Summary:

- Report Number: 229312-KFP

- Date Submitted: December 5, 2022

- Date of Incident: July 16, 2021

- Submitted By: Mark Houser

- Location of Incident: Grand Canyon Business Solutions, Scottsdale, AZ

- Allegations: False emergency mental health petition, no interaction between subject and
officer, violation of ARS § 36-521, deprivation of liberty, and due process violations under
the U.S. Constitution.

Excerpt from the submission:

"On July 15th, 2021 Detective Timothy Koerner fraudulently filled out a fictitious
application for involuntary evaluation of me pursuant to ARS 36-520. This application was
complete fiction as were all his claims. Not only was his application blatantly false, his
allegations concerning me were also a complete fabrication. Furthermore, I have never met
nor had any interaction with Koerner. Within 20 hours of him submitting the application
(and in defiance of ARS 36-521 prepetition screening), either he or his associates with the
Scottsdale Police Department showed up at my place of business and handcuffed me, then
deposited me into a mental institution where | spent the next 17 days without relief. His
actions and by extension the actions of the Scottsdale Police Department intentionally and
maliciously deprived me of my constitutional right to liberty...”

This submission was received and acknowledged by the Department of Justice, thereby
corroborating Plaintiff's assertion that his civil rights were violated and notifying the
federal government of these violations prior to filing this civil action.

Respectfully submitted,
/s/ Mark Houser

Plaintiff (Pro Se)
Houser v. City of Scottsdale, Case No. 2:23-CV-01394
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ow \ y f

/

United States Department of Justice
Civil Rights Division
civilrights.justice.gov

Thank you for submitting a report to the Civil Rights Division.

Report successfully submitted

© Your record number is: 229312-KFP

What to expect

@) We review your report

Our specialists in the Civil Rights Division carefully read every report to identify civil tights violations. spot trends. and determine if we have authatity to help with your report.

@) Our specialists determine the next step

We may decide to:

Open an investigation or take some other action within the legal authority of the Justice Department.
Collect more information before we can look into your report.

Recommend another government agency that can properly look into your report. If so. we'll let you know.

In some cases, We may determine that we don't have legal authority to handle your report and will recommend that you seek help from a private lawyer or local legal aid organization,

G@) When possible, we will follow up with you

We do our best to let you know about the outcome of our review. However. we may not always be able to provide you with updates because:
We're actively working on an investigation or case related to your report.
We're receiving and actively reviewing many requests at the same time.

If we are able to respond. we will contact you using the contact information you provided in this report. Depending on the type of report, response times can vary. If you need to reach us about your report. plez
your report number when contacting us. This is how we keep track of your submission.

What you can do next

@) Contact local legal aid organizations or a lawyer if you haven’t already

Legal aid offices or members of lawyer associations in your state may be able to help you with your issue.

American Bar Association, visit www.americanbar.org/groups/legal_services/flh-home or call (800) 285-2221
Legal Services Corporation (or Legal Aid Offices), to help you find a legal aid lawyer in your area visit www.lsc.gov/find-legal-aid or call (202) 295-1500

@) Get help immediately if you are in danger

If you reported an incident where you or someone else has experienced or is still experiencing physical harm or violence, or are in immediate clanger, please call 911 and contact the police.

https://civilrights.justice.gov/report/
Your submission

Submission comple

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Contact

Contact information

Your name

Mark Houser

Email address

Mhouser@gcbscorp.com

Phone number
6027993161

Address
9384 E Via Del Sol Dr

Scottsdale. Arizona 85255-5071

Are you now or have ever been an active duty service member?

Yes

Primary concern

What is your primary reason for contacting the Civil Rights Division?

Mistreated by police, correctional staff, or inmates

Location

Did this happen while in custody or incarcerated?

No

Where did this happen?

Organization name
Grand Canyon Business Solutions

Address
9015 East pima center parkway

Scottsdale. Arizona

Personal characteristics

Do you believe any of these personal characteristics influenced why you were treated this way?

https://civilrights justice.gov/report/
vase 2:23-cv-01394-SMB-ESW Document 80 _ Filed 06{12/25 P ge 22 of 54

12/5/22, 1:47 P mission comp

None of these apply to me Ex 15 { \ |
wt

Date

When did this happen?

7/16/2021

Personal description

In your own words, describe what happened

On July 15th, 2021 Detective Timothy Koerner fraudulently filled out a fictitious application for involuntary evaluation of me pursuant to ARS 36-520. This application was complete fiction as were all his claims.
was his application blatantly false. his allegations concerning me were also a complete fabrication. Furthermore | have never met nor had any interaction with Koerner. Within 20 hours of him submitting the app
and in defiance of ARS 36-521 prepetition screening) , either he or his associates with the Scottsdale police department showed up at my place of business and handcuffed me. then deposited me into a mental
where | spent the next 17 days without relief. His actions and by extension the actions of the Scottsdale Police department intentionally and maliciously deprived me of my constitutional right to liberty. Koerner
unsubstantiated claim is proven false by my own Doctor who | was actively seeing. Furthermore, his failure as well as the SPD's failure to follow the law was the sole reason my rights were violated. His reckless.
less actions blatantly violated my constitutional right to liberty. | have all supporting material including the false petition, my attending doctor since 2019 Dr. John Scialli. and the records from this hospitalizatio:
provide me with a place to send a complete and accurate summarization of these events.

https://civilrights.justice.gov/report/
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EXHIBIT SUMMARY / TIMELINE: MAY 9, 2021
TITLE: Premeditated Retaliation, Firearm Seizure, and False Narrative Construction
DATE: May 9, 2021

CFS #: E0509210444

I. VERIFIED TIMELINE OF EVENTS (Based on Plaintiff Testimony, Dispatch Logs, Body

Cam Footage, and Records)

Time . Event

After fire cleared the scene, Plaintiff exited the bedroom and was informed by
May 7 two officers that Alia and his son went to his mother’s house. This was false—

Alia had gone to a hotel.

Alia called Plaintiff on her birthday and asked to have dinner. Plaintiff agreed,
May 8
remained cautious, and later returned her to the hotel.

May 9 Alia returned home with their son. Plaintiff and Alia went to Starbucks and

(Morning) returned home together.

Plaintiff saw an email from Officer Kelly Wills to Alia’s email address. The
“15:37 content indicated coordination between SPD and Alia regarding Plaintiff’s

psychiatric care.
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Time

Shortly

After

Later

~17:16

SPD Arrival

Firearms

Seized

Event

While logging into the bank from Plaintiff’s device, the password was sent to

Alia’s phone. Upon receiving the code, Plaintiff noticed the email from SPD.

Plaintiff overheard Alia in the bathroom giving his full name and date of birth

over the phone. This occurred immediately before SPD arrived.

SPD is dispatched to the home under a “family fight” classification. CAD logs
claim Plaintiff is having a “psychotic episode,” believes Alia is in a cult, and

has firearms inthe home [20tsource] .

Officers Campos, Tucker, and Kane respond. Alia states Plaintiff had two
firearms on the table and was accusing her of being part of a cult. She admits

Plaintiff never made threats and never pointed a firearm at her.

SPD seizes a 22mm GSG Firefly handgun, a Winchester shotgun, and 9mm
ammunition. These items were logged and later misrepresented in official

records.

Il. PLAINTIFF'S POSITION AND VIDEO EVIDENCE

Plaintiff's account is further confirmed by Officer Tucker’s second body-worn camera

recording, which begins with Officers Tucker, Campos, and Kane down at the vehicle. As

Officer Tucker approaches Alia to ask her domestic violence screening questions, Alia is
Case 2:23-cv-01394-SMB-ESW Document 80 — Filed 06/12/25 Page 25 of 54

| ref SS
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already outside. Officer Campos is seen walking up and standing to the side during the
questioning.

This body-worn footage confirms that the officers had coordinated before engaging Alia
and were not reacting spontaneously to danger. It also shows that Alia was not in distress
at the time of police arrival and that the event unfolded in a calm, controlled environment

contrary to the dispatch narrative.

In addition:
e Plaintiff had no hostile interaction with SPD on May 9.
e Nothreats were made. No laws were broken.

e Firearms were not used in any threatening manner. Alia voluntarily removed them

from the table and took them to the bathroom.
e The entire premise for the call was orchestrated.
o Alia had coordinated with Officer Kelly Wills earlier that same day.

o The 911 call and bathroom exchange (Plaintiff overheard) included scripted

or planned information to justify police involvement.

o Plaintiff had already informed Stephenson (on May 7) that he had a treating
physician; therefore, SPD was fully aware Plaintiff was under care,

contradicting claims of unmedicated or untreated psychosis.

e Plaintiff had no hostile interaction with SPD on May 9.
Case 2:23-cv-01394-SMB-ESW Document 8 Filed 06/12/25 Page 26 of 54

Ss. . “
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e No threats were made. No laws were broken.

e Firearms were not used in any threatening manner. Alia voluntarily removed them

from the table and took them to the bathroom.
e The entire premise for the call was orchestrated.
o Alia had coordinated with Officer Kelly Wills earlier that same day.

o The911calland bathroom exchange (Plaintiff overheard) included scripted

or planned information to justify police involvement.

Ill. LEGAL IMPLICATIONS

e Fourth Amendment Violation: Firearms seized from Plaintiff’s home without a

warrant, criminal charge, or due process.

e Fourteenth Amendment Violation: SPD acted based on an unverified narrative,

omitting exculpatory context and exaggerating claims of mental instability.

e Retaliatory Pretext: SPD knew Plaintiff had a treating physician as early as May 7.
Alia's contact with Officer Wills on May 9 further proves SPD acted with full
awareness of Plaintiff's psychiatric care and still proceeded with an unjustified

intervention.
Case 2:23-cv-01394-SMB-ESW Document 80 Filed 06/12/25 Page 27 of 54

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e Fabrication & Misclassification: SPD’s reports misstate key facts (e.g., type of
firearm, nature of behavior, and threat level), and dispatch logs include preloaded

psychiatric language disconnected from observed behavior.

IV. CONCLUSION

May 9, 2021 represents the first major escalation following SPD’s failed attempt to
fabricate a psychiatric crisis on May 7. Despite Plaintiff being cooperative, unarmed, and
non-threatening, SPD seized legally-owned firearms and began building a false case
around Plaintiff's mental fitness. The discovery of Officer Wills’ email and Alia’s callin the
bathroom suggest premeditated retaliation rather than spontaneous concern. This day is
a key inflection point in the City’s shift from observation to orchestrated deprivation of

rights.
Case 2:23-cv-01394-SMB-ESW Document 80 Filed 06/12/25

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NAME ADDRESS AND TELEPHONE NUMBER OF:

1)
2)
3)

4)

Guardian
Spouse

Next of Kin

Significant Other Persons

Page 28 of 54

His mom Kathy Houser 480-620-9320

Alia Houser 480-797-1007

His sister Staci Otteman 602-315-7097

Good friend Edmond 602-708-2526

5-10-21

DATE

SIGNATURE OF APPLICANT

Printed or Typed name of Applicant | Alia Houser

Relationship to Proposed Patient | 1 am his wife

Applicant’s Address

9384 E Via Del Sol Drive Scottsdale AZ 85255

Applicant’s Telephone | 480-797-1007

SUBSCRIBED AND SWORN to before me this

day of

, 2020

Notary Public

My Commission Expires:

Case 2:23-cv-01394-SMB-ESW Document 80 _ Filed 06/12/25

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Page 29 of 54

APPLICATION FOR INVOLUNTARY EVALUATION
(Pursuant to A.R.S. § 36-520)

STATE OF ARIZONA )

. SS.
COUNTY OF MARICOPA _ )

To the

La Frontera-Empact ___
(Regional or Screening Authority)

1. The undersigned applicant requests that the above agency conduct a pre-petition
screening of the person named herein.

2. The undersigned applicant alleges that there is now in the County a person whose name

and address are:

Mark Houser 9384 E. Via Del Sol Drive,
(Name) (Address)

and that he/she believes that the person has a mental disorder and as a result of said

mental disorder, is:

[_] a danger to self; [_] a danger to others;
[_] gravely disabled; persistently or acutely disabled
and is:

Sq unwilling to undergo voluntary evaluation, as evidenced by the following facts:

Mark doesn’t believe he has a mental illness. He is delusional and believes his reality is
absolutely real and he is unstable,

x

unable to undergo voluntary evaluation, as demonstrated by the following facts:

Mark lacks insight into his state of mind. He doesn’t understand what is happening. He thinks it is
me that is lying to him and that I am an imposter, not his wife.

RELATIONSHIP TO PROPOSED PATIENT

IF WORKING FOR AN AGENCY,

SUPERVISOR’S NAME AND PHONE NO.

Case 2:23-cv-01394-SMB-ESW | Document S Filed 06/12/25 Page 30 of 54
KN lo i
WITNESS INFORMATION FORM
PROPOSED PATIENT: | Mark Houser
WITNESSES DATA:
1. NAME: Alia Houser Acency: N/A arate Aliahouser47@gmail.com
ADDRESS! 9384 E, Via Del Sol Drive
CITY | Scottsdale ST) AZ ZIP CODE| 85255
HOME No.: Work No.: CELL NO.} 4807971007 |FAX No.
Retarionstir ro PorostD PATINT[ yrs my shan
SUPERVISOR’S NAME AND PHONE No.
ANTICIPATED TESTIMONY:! pAD
-RE: (JDTS (JDTO  [XIPpaAD Licp
2, NAME: AGENCY: EMAIL
ADDRESS
CITY ST -|zip copE| ~
HOME No.: Work No.: CELL No. FAx No. i
RELATIONSHIP-TO PROPOSED PATIENT
IF WORKING FOR AN AGENCY,
SUPERVISOR’S NAME AND PHONE No.
ANTICIPATED TESTIMONY:| pap
RE: (] DTS [)DTo PAD [JGD
3. NAME: AGENCY: EMAIL
ADDRESS
CITY ST ZIP CODE
HOME No.: Work No.: CELLNO, FAX No.

ANTICIPATED TESTIMONY:

Case 2:23-cv-01394-SMB-kSW . ee Filed 06/12/25 Page 31 of 54

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2. and who is believed to be in need of supervision, care and treatment because of the
following facts:

Mark believes there is a cult out to get his wife (me) and he will destroy the cult or me (the “imposter”
that is his wife). I called the police and he said they were corrupt and he thinks they are part of the
cult, He took out two guns and bullets yesterday because he wants to “destroy the cult”. He thinks I
am also having affairs and wants to destroy the people I had affairs with (I never had affairs). The
police came out on 5/9/21 and Mark left in his car and I have not seen him since. The police took his
guns and bullets. Mark is agitated and when I say there is no cult he gets extremely angry and loses
his temper. He will not get better until he is under treatment.

3. The conclusion that the person has a mental disorder is based on the following facts:

I have several videos/audio recordings of Mark and his behavior. He was
involuntarily admitted to the hospital in 2018 and Dr. Sarsiat believed he had
psychosis. Dr. Evelyn Burrell who we also saw in 2018 believed he had delusional
disorder. My doctor believes he may be bi-polar as I have showed her the videos, etc.
My brother who is a psychiatrist believes he may have schizoaffective disorder, The
only time Mark stopped talking about the cult was when he was put on Risperdal in
the hospital. He stopped taking it in March 2019 and we had another police incident.

4. The conclusion that the person is dangerous or disabled is based on the following facts:

I believe Mark is psychotic and believes the cult is out to get us and he wants to
destroy them. He also thinks I am part of the cult and that I have been lying to him
and he gets angry and hostile with me. He takes Adderall and smokes marijuana daily
which it seems is making him more psychotic. He has no insight into his behavior
and projects it onto me, He says I am hostile and I am having delusions and
hallucinations. He said he was going to confront a neighbor about an affair and he
has videos of us having sex and I am afraid he may get hostile with the neighbor. I
continue to tell Mark I have had no affairs but he doesn’t believe me.

Case 2:23-cv-01394-SMB-EBW 1. Dpcupentego Filed 06/12/25 Page 32 of 54

PERSONAL DATA OF PROPOSED PATIENT:

56

Age Date of Birth! 1-28-65 Sex| M Race} White

Weight! 190 Height| 5°11 Hair Color} blondish | Eye Color | green

Marital Status | married = 7 Number of Children} 5

Social Security Number Religion| Not religious
Distinguishing Marks

Occupation | Business owner

Present Location | ynknown

Dates and Places of Previous Hospitalization| 17.2018

Involuntary at Maricopa Integrated health

How Long in Arizona} 42 years State Last From

Veteran C-No. Education| Some college

Case 2:23-cv-01394-SMB-ESW’, Dbcurpenigo Ged 06/12/25 Page 33 of 54

CBI

Communtry Brings, inc.
.

ELGNRITE SERRE chaning

Community Bridges, Inc. Police Pick Up Ordet

1, __Andrew Owusu-Ansah pursuant to ARS 36-525 subsection A, direct that
(admitting officer (print)
Scottsdale PD , Shall apprehend and
(law enforcement agency)
transport Mark Houser to Community Bridges, Inc. (CPEC)
(proposed patient)

Community Psychiatric Emergency Center 358 E, Javelina Ave. Mesa AZ for an

emergency mental health evaluation.

Reason for Petition: Type of Petition:
DTO [] Emergent — New het
DTs (] Emergent — Amendment LC]
PADYA Non-Emergent — New C]
Non-Emergent — Amendment [_]
Weapons Involved? If yes, Type of Weapons: Current Access to Weapons?
Yes ef Gun v Yes []
No (J Knife | No []
Other [_] Specify Unk $f
Unknown

Identifying features: ee
Sex _ Age/DOB Race Eyes Hair Height Weight |

M 56 01/28/1965 White Green Dirty Blonde} 5'114 190lbs

Identifying Marks (e.g. scars/tattoos); _ !attoo of a rose on his arm

Last known whereabouts: __ 9384 E. Via Del Sol Scottsdale AZ, 85255

Additional Information (e.g. physical limitations, threatened violence, fear of law enforcement,
other people living in the household, pets):

WP 2 lag 05/19/21

Signature Admitting Officer (ARS 36-501.1) ° Time Date

To verify this transmittal or for further information call 480-507-3186.

Please read entire petition for relevant information

Community Bridges, Inc.
12/2015

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MH-100 (Form A)

APPLICATION FOR INVOLUNTARY EVALUATION
(Pursuant to A.R.S. § 36-520)

STATE OF ARIZONA )

) ss.
COUNTY OF MARICOPA _ )

Tothe CBI Inc. Community Psvchiatric Emergency Center

(Regional or Screening Authority)

1. The undersigned applicant requests that the above agency conduct a pre-petition
screening of the person named herein.
2. The undersigned applicant alleges that there is now in the County a person whose name

and address are:

: _ 25.159
L Mark Heuser 944 E. Va Del Ql dr Golefale |

(Name) (Address)
and that he/she believes that the person has a mental disorder and as a result of said

mental disorder, is:

[ | a danger to self; [ | a danger to others;
[ gravely disabled [V] persistently or acutely disabled

[ | unwilling to undergo voluntary evaluation, as evidenced by the following facts:

Mark is seeinq a Psychyarhist but hes getirag worse. mark sud his

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| | unable to undergo voluntary evaluation, as demonstrated by the following facts:

Mark lacks inaant ito Vis {loess anc veravio'r, his treadrre ah

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ADHS/BHS Form MH-100

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MH-100 (Form A)
and who is believed to be in need of supervision, care and treatment because of the following facts:

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3. The conclusion that the person has a mental disorder is based on the following facts:
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our secul chy camera. Videos anl-theve wu ee Ga Pichoee, of our u L veh anck
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4. The conclusion that the person is dangerous or disabled is based on the following facts:
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PERSONAL DATA OF PROPOSED PATIENT:

Age[5(p_| Date of Birth|_|- BRAG | sex LM] Race | Who

Weight [\A | Height [1 ]f"] Hair Color [xr\y \luflc Eye Color [ree

Marital Status [ <=, (Tam We- | Number of Children[ 5

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Social Security Number | | Religion| Cana ic. SH Che\ |

Distinguishing Marks | atop of Me OANS av) |

Occupation | yy Sness$ OWnee |
Present Location | ASB E Nia Ww) Sol Dr Scottsdale. 65255 |
Dates and Places of Previous Hospitalization | \2| 2018 = \| 20 ft Mav copa A heath |

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Veteran C-No.[ | Education | Spec Ole Qe |
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ADHS/BHS Form MH-100

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MH-100 (Form A)

NAME ADDRESS AND TELEPHONE NUMBER OF:

1) Guardian | |
2) Spouse | Min tlouser Cloweshe tart ) AX FOF [OOF |
3) NextofKin[ SV, OTeman _G02-315-JoUT

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4) Significant Other Persons | [Y\OrX\ Adactny bhsusey) 450-020 q 310 |

L Sfayz | Ok = ee

DATE Signature of Applicant

Printed or Typed name of Applicant Alla tho Us ear |

Relationship to Proposed Patient L Aomesshe Partner |
Applicant’s Address | 9384 €£. Va Del Sol Drwe Gelletkale 57255 |
Applicant’s Telephone [ AS0-19'1- 1007 |

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day month year

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Notary Public
My Commission Expires:

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Notary Public - Arizona
Mancopa County

Commission + 5@3911
my Comm, Expires Mar 6, 2026

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ADHS/BHS Form MH-100

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COUNTY OF MARICOPA }

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Maricopa County

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MH-104 (Form B)

APPLICATION FOR EMERGENCY ADMISSION FOR EVALUATION
(Pursuant to A.R.S, § 36-524)

STATE OF ARIZONA )

)ss.
COUNTY OF MARICOPA )

The undersigned applicant, being first duly sworn/affirmed, hereby requests that:

CBL Inc. Community Psychiatric Emergency Center
(Evaluation Agency)

admit the person named herein for evaluation.

1.

The undersigned applicant alleges that there is now in the County a person whose name and
address are:

[Mark Houser [9424 E. Via Del Sol Dr 285255]

(Name) (Address)

and that she/he believes that the person has a mental disorder and as a result of said mental

disorder, is: a danger to self; a danger to others;
and that during the time necessary to complete pre-petition screening under A.R.S. $§ 36-520
AND 36-521, the person is likely without immediate hospitalization to suffer serious physical

harm or serious illness or is likely to inflict serious physical harm upon another person.

The conclusion that the person has mental disorder is based on the following facts:

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He Wi ks they Want to Slea\ my cous anc cbt ynoney. He Paws
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ADUS/BHS Form MH-104

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MH-104 (Form B)
The specific nature of the danger posed by this person is:
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PERSONAL DATA OF PROPOSED PATIENT:

Agel Fy, | Date of Birthl_ {26-59 | sex | MA | Race | whee |
Weight| 140 | Height| 5 1\"| Hair Color Lacky blond Eye Color | Aree r\ |

Marital Status | S are Ste | Sumber of Children | a |
Waa Te - ‘
Social Security Number| Religion| Catnrolye (spicvtual ) |

Distinguishing Marks | +21 D0 OW sho wldcy

Occupation|  buc\resss OWE ye |
Present Location [jy Zea F Via De\ Sol by Soatikdale 85 255
Dates and Places of Previous Hospitalization [-Wh ra DFC- Manecorea Coomy |
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How Long in Arizona[AD+ yaws| State Last From | (Yich iA a |

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ADHS/BHS Form MH-104

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MH-104 (Form B}

NAME ADDRESS AND TELEPHONE NUMBER OF:

1) Guardian f - |

2} Spouse |

3) Next of Kin[ <Slact Otemanw 609-315 “Toa7 |

4) Significant Other Persons lAlia Houce C Gorméestic paucner) A) a
DO

Mi fee
5) iqlat | A Lee —

DATE Applicant Signature

Printed or Typed name of Applicant [ ANA Houser

Relationship to Proposed Patient | Aome She Cutnec |
Applicant’s Address 484 e. Via be\ Sol Dr <cotadale qo 955 ‘|

Applicant’s Telephone | ASO - 7 G = 1007] |
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SUBSCRIBED AND SWORN to before me this __ tS day of _ Ma: Foca Go

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Notary Public(® =~

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ADHS/BHS Form MH-104

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WITNESS INFORMATION FORM

Propvosep Patient: | Wark House y- |
WITNESSES DATA:
1. name Alig Houser J aceney|_ J] rman ALarooser F7eqmah coar
appress| A934 E. Vie “pe | Sol Dave, Seotkdale 25255 |
city] Scottsdale. | sr|AZ | zircove| 5255

HOME No.: [| WorRK no:[ | CELL NosAY).74 7/0 fax nof sd

RELATIONSHIP TO PROPOSED BATIK | \Ne. are. com esd farkvre rs

IF WORKING FOR AN AGENCY,

SUPERVISOR’S NAME AND PHONE No. | |

ANTICIPATED TESTIMONY:

rE:{_ |prs [| Dto pap [_ ]op

2. Names SUSAA Potc | AGENCY: L | eeowu. z ae ees . |
ADDRESS| |
crty| | stl | ziecone[ |
HOME No.: [ Work No.: [ CELL No.4 TNS 18 Fax No|| |

RELATIONSHIP ‘TO PROPOSED PATIENT .. she Has 2p Cery.w\
Cc Home. ( ¢ Gro; -s ve {)
IF WORKING FOR AN AGENCY, she 1S Ov ACNCW = RAguse ganesh $A Syic'eslaf

SUPERVISOR’?S NAME AND PHONE No.

ANTICIPATED TESTIMONY: | |

RE: [] DTS [_] DTO [Vv] PAD [|e

3. NAME? | AGENCY:| ‘| eman.| |

ADDRESS} |

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RELATIONSHIP TO PROPOSED PATIENT | |
[IF WORKING FOR AN AGENCY,
SUPERVISOR’S NAME AND PHONE NO. [

ANTICIPATED TESTIMONY: |

RE: [| DTS [ | DTO [] PAD [| Gb

This form to be completed and attached to Application for Emergency Admission in lieu of “Form C”.
For Maricopa Medical Center Psychiatric Annex, and Desert Vista in-house use only.

DST01 COS-HOUSER-000724
Case 2:23-cv-01394-SMB-ESW Document 80 Filed 06/12/25 Page 42 of 54

Gmail - Fwd: Mark HOUSER- EMERGCO Assistance Bw 5 L A 5/28/25, 1:54 PM

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nd

Fwd: Mark HOUSER- EMERGCO Assistance

Hernandez, Evelyn - 1471 <EvHernandez@scottsdaleaz.gov> Fri, May 21, 2021 at 10:59 AM
To: "kristopher@califanolaw.com" <kristopher@califanolaw.com>

We can meet you at CBI if he agrees. Call or text me with a time that works. Thank you for all of your assistance.
Det. Hernandez 1471

Get Outlook for iOS

From: Williamson, Scott - 834 <SWILLIAMSON@SCOTTSDALEAZ.GOV>
Sent: Friday, May 21, 2021 10:55:32 AM

To: Hernandez, Evelyn - 1471 <EvHernandez@ Scottsdaleaz.gov>
Subject: Fwd: Mark HOUSER- EMERGCO Assistance

Get Outlook for iOS

From: Dunton, Marcus - 1310 <MDunton@ Scottsdaleaz.gov>

Sent: Thursday, May 20, 2021 02:00

To: Dikeman, Cody - 790; Galbraith, Scott - 1107; Williamson, Scott - 834; Wesloski, Timothy - 767
Cc: Ruscitti, Chris - 705; Ferreira, Jose - 532; Davidson, Bradley - 1331; McElley, Nikolas - 1508
Subject: Mark HOUSER- EMERGCO Assistance

Good Morning,

| was hoping to get some assistance reference the attached pick up order for Mark Houser due to his erratic behavior
and violence potential...

Mark Houser resides at 9384 E Via Del Sol in Bt. 18. He is becoming increasingly paranoid and seems to be suffering
from an altered mental state. Mark is a former Marine and has/had access to firearms. To date, PD has impounded 1
handgun and 2 shotguns from the residence. Today, 05/20/21 we responded to the residence reference his wife, Alia,
calling PD stating that Mark was making delusional statements about her being evil and being in a cult. The
statements are increasing with frequency and threat of violence and have escalated over the last 2-weeks. Mark
show signs of paranoia and per Alia has “patrolled” their front yard and contacted neighbors with a firearm. Upon PD
arrival tonight, Mark fled the residence in a'silver or white Cadillac CTS-V at a high rate of speed. Officers were not in
a position to attempt to stop Mark so it is unknown if he would stop or not and it is unknown where he may be heading
to.

| have attached a copy of the order as well as a very basic info sheet on Mark. It looks like Mark has a prior felony

https://mail.google.com/mail/u/0/7ik=4c971701dd&view=pt&search=a...simpl=msg-f:1700391792964474031&simpl=msg-a:r112680992083568086 Page 1 of 3
Case 2:23-cv-01394-SMB-ESW. Document 20 abled 06/12/25 Page 43 of 54
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Gmail - Fwd: Mark HOUSER- EMERGCO Assistance 5/28/25, 1:54PM

case, CR2019-111669 for MIW and Unlawful Imprisonment. Of note, Mark and Alia’s 8 year old son, Sam, also lives
at the residence. Det. Hernandez is currently assigned a DV case for the Houser’s (21-09121). | should be awake

around 1600 hours this afternoon but will have my phone on if you need anything from me sooner.

| appreciate your help,

Sgt. Marcus Dunton #1310
Scottsdale Police Department
R1-Squad | Foothills District

VM: 480-312-5702

2 attachments

«> Houser.pdf
— 108K

a Pick up Order- Houser.pdf
— 809K

Kris Califano <Kristopher@califanolaw.com> Tue, Sep 10, 2024 at 11:09 AM
To: Mark Houser <mhouser@gcbscorp.com>, Sean Woods <swoods@lawbadgers.com>

Very Respectfully,
Kristopher Califano

Law Office of Kristopher Califano, PLLC
4600 N. 12th St.
Phoenix, AZ 85014

www.CalifanoLaw.com
602-402-8708
Kristopher@CalifanoLaw.com

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transmission and its attachments without reading or saving in any manner. Thank you.

https://mail.google.com/mail/u/0/?ik=4c971701dd&view=pt&search=a...simpl=msg-f:1700391792964474031&simpl=msg-a:r112680992083568086 Page 2 of 3
Case 2:23-cv-01394-SMB-ESW Document 80 Filed 06/12/25 Page 44 of 54

Gmail - Fwd: Mark HOUSER- EMERGCO Assistance Et Wd ) 5/28/25, 1:54PM

2 attachments

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#4 Pick up Order- Houser.pdf
— 809K

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| -

Revised Summary of PCIS Contact Sheet Findings for Complaint:

Between May and July 2021, the City of Scottsdale—acting in coordination with PCIS, CRT,
and ConnectionsAZ—engaged in a sustained campaign to falsely classify Plaintiff as mentally ill
and dangerous. The PCIS Contact Sheet and accompanying records reveal that:

On May 9, 2021, Plaintiffs treating psychiatrist was known to both SPD and Alia
Houser.

o Officer Kelly Wills emailed Alia, referencing Plaintiffs psychiatrist by name.

o Plaintiff informed Officer Stephenson on scene that he had a doctor and was
under care.

o On the 911 call, Alia herself confirmed that Plaintiff had a treating psychiatrist.
Despite this, SPD officers proceeded to initiate psychiatric seizure protocols,
characterizing the event as an “emergent mental health incident” with no clinical
basis.

On May 13, 2021, SPD and PCIS began coordinated planning for a mental health
petition based on unverified statements from Alia Houser. At that time, Plaintiff had not
been evaluated by any mental health professional affiliated with PCIS, and no qualifying
emergency had occurred.

On May 18-19, 2021, PCIS received an email from Alia stating that Plaintiff had support
from two attorneys and a letter from his treating psychiatrist, Dr. Scialli, affirming that he
was not delusional and did not meet DTS/DTO criteria. Despite this, PCIS continued to
collaborate with SPD to facilitate a petition that contradicted this medical opinion.

On May 20, 2021, Sgt. Williamson coordinated with PCIS regarding a pick-up order,
even though no valid, served, or court-approved petition was on file. PCIS forwarded
materials to SPD and continued planning based on false behavioral narratives and
contradictory internal statements.

Over the following weeks, Alia reported confusion, surveillance, password changes, and
impersonation, claiming someone was emailing under her name. Rather than assess her
mental or emotional state, PCIS and SPD used these statements to justify continued
narrative construction.

On July 14-15, 2021, Sgt. Williamson and PCIS coordinated with CRT to facilitate a
second detainment plan. CRT drafted a new emergent petition based on text messages
and impressions, not medical diagnosis. Simultaneously, Williamson sent internal safety
bulletins to the Arizona Attorney General’s office and municipal staff, falsely describing
Plaintiff as a public threat.

These records confirm that Plaintiff was subjected to a campaign of coordinated defamation and
psychiatric fraud—engineered without medical basis, in violation of ARS Title 36, and designed
to circumvent constitutional protections. At no point was Plaintiff evaluated by a neutral or
court-appointed physician prior to detainment, and all known information about Plaintiff's
existing care and stability was either disregarded or suppressed.
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Cyn |

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U Invoice Number Account Number Date Due Page

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Detail for Tim : 480-797-1007 A” 5
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Voice, continued ee yo
Daie Time Number Rate i sage Type . Origination Destination Min. Airtime Chrgs LO/OiheChrgs Total
7N2 = 3:51P 602-463-1906 Peak F PlanAllow Scottsdale AZ Gilbert AZ 1 -- -- --
7TA2 =3:53P + 602-463-1906 Peak PlanAllow Scottsdale AZ Incoming CL 24 -- -- --
TH2 = 4:17P 623-570-0952, ° , Peak — PlanAllow Scottsdale AZ Phoenix AZ 1 -- -—- —
72 4:20P 623-570-0952 } Peak — PlanAllow Scottsdale AZ Incoming CL 6 -- -- --
7N2 = 4:26P ~=602-799-3161 Peak — PlanAllow Scottsdale AZ Phoenix AZ 34 -- -- --
72 = = 4:28P ~=602—463-1906 Peak —PlanAllow,CallWait Scottsdale AZ Incoming CL 2 -- -—- -—
72 = ~=5:01P +~=858-842-0006 Peak = PlanAllow Scottsdale AZ Poway CA 2 —- -— --
72 = -§:07P ~=858-842—-0006 Peak — PlanAllow Scottsdale AZ Poway CA 2 -- --
72 = 5:26P ~=—858-842-0006 Peak — PlanAllow Scottsdale AZ Poway CA 2 -- -— —
72 = 5:26P ~858-598—7680 Peak — PlanAllow,CallWait Scottsdale AZ Incoming CL 1 - -- --
7A2 = 6:54P = 480-312-5000 Other Wi-Fi WIFI CL Scottsdale AZ 8 -— -- -—
7N2 = ~=7:59P 480-323-6887 Peak = PlanAllow Scottsdale AZ Incoming CL 6 -- -- —_
7N3 = -7:35A 602-820-2488 Other Wi-Fi WIFI CL Phoenix AZ 4 -- —_ --
73 7:43A 602-820-2488 Other Wi-Fi Maricopa C AZ Incoming CL 1 -- -- --
73 -8:43A 480-655-7440 Peak —PlanAllow Scottsdale AZ Phoenix AZ 3 -- -- --
7A3 = 9:17A 480-655-7440 Peak —PlanAllow Scottsdale AZ Phoenix AZ 1 -- -- --
73 -9:22A 602-799-3161 Peak — PlanAllow Scottsdale AZ Incoming CL 20 -- -- --
73 = 11:21A ~858-842-0006 Peak — PlanAllow Scottsdale AZ Poway CA 1 -- -_ imi
73 11:25A 858-842-0006 Peak —PlanAllow Scottsdale AZ Incoming CL 5 -- -- --
73 12:33P 844-545-5640 Peak — PlanAllow Scottsdale AZ Toll-Free CL 4 -- -- --
7/13 12:56P 304-707-9490 Peak — PlanAllow Scotisdale AZ Incoming CL 55 -- -- --
73 -2:27P ~=—480-596--1919 Peak —PlanAllow Scottsdale AZ Scottsdale AZ 4 -- -- --
ee 713 2:33P 480-312-8551 Peak Plandllow LA [liam GO Scottsdale AZ Scottsdale AZ 17 _- _ _
7N3  ~=—-2:59P 623-385-6260 Peak — PlanAllow Scottsdale AZ Glendale AZ 24 -- -- —
73 = = -5:26P ~=480-312-5000 Peak — PlanAllow Scottsdale AZ Scottsdale AZ 5 -- -- =
73 5:30P ~480-312~—5000 Peak — PlanAllow Scottsdale AZ Scottsdale AZ 4 -- -- --
73 5:37P 858-842-0006 Peak — PlanAllow Scottsdale AZ Poway CA 1 -- -- --
713 = S:46P_ = 602-799-3161 Peak — PlanAllow Scottsdale AZ Phoenix AZ 6 -- -- --
73 ~=—-5:54P = 858-842-0006 Peak — PlanAllow Scottsdale AZ Incoming CL 3 -- -— --
73 = 6:49P 480-607-1038 Other Wi-Fi WIFI CL Scottsdale AZ 5 -- -- --
73 = 7:20P ~=—480-419-1478 Peak — PlanAllow Scottsdale AZ Paradisvly AZ 2 -- -- --
7N3  10:41P 602-799-3161 Other Wi-Fi Maricopa C AZ Incoming CL 4 - -- --
74 11:04 858-842-0006 Peak — PlanAllow Scottsdale AZ Poway CA 1 -- -- --
qe TN4 11:25A 480-312-8551 Peak — PlanAllow Wy V ih MLS? vl Scottsdale AZ Incoming CL 9 -- -- --
7/14 = 12:02P +858-842—0006 Peak — PlanAllow Scottsdale AZ Incoming CL 1 —_ -- --
7N4 = 12:54P 480-372-2333 Peak —PlanAllow Scottsdale AZ Phoenix AZ 1 -- -- --
7N4 = 1:03P ~=480-325-9900 Peak . PlanAllow Scottsdale AZ Mesa AZ 2 -- -- --
7/4 = 1:14P ~=—480-325-9900 Peak — PlanAllow Scottsdale AZ Incoming CL * 41 -- -- --
7/14 = ~=«-1:57P ~=602—799-3161 Peak — PlanAllow Scottsdale AZ Incoming CL 2 -- -- —
714 = 2:12P = 858-842-0006 Peak — Plandlllow \ Scottsdale AZ Poway CA 5 -- -- --
Las, 14 wap 40-12-8551 Peak _Praniilow (USi | UfoeySO0X Scottsdale AZ Incoming CL 17 = am --
74 = -5:48P = 858-842-0006 Peak —PlanAllow Scottsdale AZ Incoming CL 1 -- ain ae
7/14 ~~ 7:32P 602-799-3161 Other Wi-Fi WIFI CL Phoenix AZ 3 -- -- -
74 = 7:35P ~=602-799-3161 Peak — PlanAllow Scottsdale AZ Phoenix AZ 8 -- -- --
74 = 8:30P = 858-842-0006 Peak — PlanAllow Scottsdale AZ Incoming CL 2 -- -——- -—
7M5 ~—-8:13A_—_- Unavailable Peak — PlanAllow Scottsdale AZ Incoming CL 11 -- -- --

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EXHIBIT SUMMARY / TIMELINE: MAY 20, 2021
Title: False Pickup Order, Prior Seizure Suppression, and Coordinated Escalation

Date: May 20, 2021

CFS #: E0520210015

I. VERIFIED TIMELINE OF EVENTS

(Based on Audio, Internal Affairs Meeting, Discovery Records, and Dispatch Logs)
Time Event

SPD seizes Plaintiff’s GSG Firefly .22 caliber handgun, Winchester shotgun, and
May
9mm ammunition. The 9mm rounds were incompatible with the .22 caliber

pistol, but used to justify seizure.

Plaintiff later describes these events at the July 13 Internal Affairs meeting with
Sgt. Peter Michaels, Pearson (IAD), and Kevin Watts (CRT), stating:

¢ The May 20 pickup order was fraudulent and unserved.

¢ The first petition (found in Alia’s car) falsely referenced Adderall use, later
replaced with a handwritten version blaming withdrawal.

¢ SPD had already removed all firearms by May 9 and Plaintiff had no access to

weapons.
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Time Event

20

12:38 AM: SPD dispatches officers to Plaintiff’s home, classified as a
“PROPERTY - WEAPON” call. Officers deploy tactically, some with rifles,

entering Plaintiff’s property silently.

Stephenson’s body-worn camera records him speaking with Alia, falsely stating

SPD was responding to a “disturbance.”

Later that day, Defendants Williamson and Hernandez email an unserved and
unsigned petition to attorney Kristopher Califano, pressuring him to facilitate
Plaintiff’s surrender to Community Bridges Inc. (CBI). This petition—dated May
19—was not entered into the system until May 26, 2021, and lacked judicial

approval or medical foundation.

Il. PLAINTIFF’S POSITION AND VERIFIABLE FACTS

At approximately 1:00 AM on May 20, SPD seized a disassembled, non-
functioning Browning A1500 shotgun from Plaintiff’s bedroom closet. Officer

Stephenson is recorded inspecting it and stating he would contact a sergeant.

SPD had already seized all other firearms on May 9, making the claim that

Plaintiff had access to weapons on May 20 objectively false.
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ESR, Ppeunet Qe

e The dispatch classification—“PROPERTY —- WEAPON”—was Later sanitized in
internal records to reflect a generic “disturbance,” concealing the fabricated

danger scenario used to justify SPD’s tactical response.

e Officer Stephenson misrepresented the nature of the call to Alia Houser, further

obscuring the coordination behind the psychiatric intervention.

e Anunsigned petition was emailed to Plaintiff’s attorney (Califano), alongside a
request to persuade Plaintiff to voluntarily present himself to CBI—an improper

coercive tactic circumventing judicial safeguards.
e At the July 13 Internal Affairs meeting, Plaintiff calmly explained:
o Contradictions in the petitions (Adderall use vs. withdrawal).
o That the petition was sent to his counsel before any court involvement.

o That multiple agencies had been contacted, demonstrating his lawful

attempts to report coordinated misconduct.

e Internal SPD and CRT records previously mischaracterized the May 9 event by
falsely claiming Plaintiff was seated at a table with a firearm. This fabrication
was later used to justify ongoing escalation, despite the May 20 event involving

no access to weapons or threatening conduct.

Il. LEGAL IMPLICATIONS
Case 2:23-ev-01394-SMB-EGW { Dacunfent 80 /Biled 06/12/25 Page 50 of 54

e Fourth Amendment Violation: SPD entered Plaintiffs home and seized property
under a fabricated emergency narrative, using a knowingly false petition that

lacked lawful authorization.

e Fourteenth Amendment Violation: SPD and CRT coordinated an involuntary
detainment process without due process, judicial oversight, or valid psychiatric

evaluation.

e Spoliation: Audio evidence from the May 20 call was listed in initial disclosures
but was later reported as deleted or unavailable, despite formal preservation

requests.

e Monell Liability: The use of the same officers and repeated false psychiatric
framing illustrates a broader custom and practice of retaliatory detainment

targeting protected individuals.

IV. CONCLUSION

May 20, 2021, marks the most overt instance of SPD’s misuse of psychiatric law and
coordinated fabrication. With all firearms already seized and no valid petition in place,
SPD staged a tactical deployment to Plaintiff’s home under false pretenses. The
subsequent petition was created after-the-fact to justify what had already occurred.

These actions exemplify retaliatory enforcement, intentional distortion of legal
Case 2:23-cv-01304-SMB-EGW poctijent 80 /Filed 06/12/25 Page 51 of 54

processes, and the coordinated use of psychiatric infrastructure to neutralize and

discredit a law-abiding citizen.
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WITNESS AFFIDAVIT OF DR. JOHN SCIALLI

STATE OF ARIZONA
COUNTY OF MARICOPA

|, Dr. John Scialli, being of sound mind and legal age, declare under penalty of perjury

as follows:

1. Personal Information:

oO

°

Full Name: Dr. John Scialli, M.D.
Address: 4647 N 32™ St Ste 260, Phoenix AZ 85018
Phone Number: 602-224-9888

Professional Credentials: Board-Certified Psychiatrist, Board-
Certified Child and Adolescent Psychiatrist, Expert in Forensic
Psychiatry.

Relationship to Plaintiff: Evaluating and Treating Physician

oO
2. Statement of Facts:

°

oO

oO

| have been familiar with and/or involved in the psychiatric care of Mr.

Mark Houser and am aware of his mental health status and treatment
history.

| conducted an evaluation and/or reviewed records related to Mr.
Houser’s psychiatric condition initially on 04/11/2019, subsequently
twice weekly or weekly through 05/14/2021 and most recently on
03/07/2025.

To the best of my professional knowledge, at no time did Mr. Houser
display behaviors that would justify an emergency involuntary
commitment without prior due process safeguards.

Scottsdale Police Department (SPD) ignored proper medical
evaluations and failed to conduct a pre-petition screening prior to
executing an involuntary commitment order.

The City of Scottsdale and SPD misrepresented Mr. Houser’s
psychiatric condition as an imminent threat when he had an
established psychiatrist and a documented history of treatment
compliance.

2. Contradictions in SPD’s Justifications for Commitment:

O°

SPD claimed Mr. Houser required immediate involuntary commitment,
yet they had knowledge that he was already under psychiatric care.
Case 2:23-cv-01394-SMB-ESW  pgchment §@ Filed 06/12/25 Page 53 of 54

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The absence of a pre-screening evaluation violated standard mental
health commitment procedures.

SPD and City officials misrepresented Mr. Houser’s mental state and
treatment history to justify their actions.

. Medical Opinion on Plaintiff's Psychiatric Condition & Commitment

Process:

Based on my review and/or evaluation, the criteria for

emergency involuntary commitment were not met under
standard medical guidelines.

The City’s justification for commitment contradicts known
psychiatric protocols and violates due process protections.

The detainment of Mr. Houser appears to be more aligned
with police intervention than a legitimate psychiatric
emergency.

4. Sworn Statement:

°

The facts stated above are true and correct to the best of my knowledge
and belief.

| am providing this affidavit voluntarily and understand that it may be
used in legal proceedings.

Federal Sworn Declaration (No Notary Required)

| declare under penalty of perjury that the foregoing is true and correct.
Executed on this 15th day of MARCH, 2025.

WITNESS SIGNATURE (JOHN V SCIALLI, MD)

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SUMMARY OF EXHIBITS

Exhibit

No. Title / Description

Exhibit DOJ Civil Rights Division Complaint
1 Acknowledgment and Tracking Report

Exhibit Email from Officer Kelly Wills to Alia Houser
2* referencing psychiatrist and mental health referrals

Exhibit Plaintiff's Declaration: May 9 Seizure and
3 Misclassification of Firearm

Exhibit Audio Transcript: July 13, 2021 Internal Affairs
4* Meeting

Exhibit May 14 & May 20 Petitions — Typed and
5 Handwritten Versions

Exhibit Forensic Timeline: Petition Discovery and
6 Retroactive Filing

Exhibit

7% May 20 BWC Log — Officer Stephenson

Exhibit Email from SPD to Attorney Kristopher Califano —
8 Petition Without Service

Date(s) Relevance / Reference

Confirms Plaintiffs administrative
Aug 2023 exhaustion and federal complaint
filing.
Proves SPD knew Plaintiff had
May 9-___ psychiatric care; shows coordination
July 2021 with Alia regarding involuntary
petitions.

Supports Fourth and Fourteenth

ve Amendment claims; firearm
misclassification.

July 13 Documents Plaintiffs reporting of

> i 1 > misconduct and contradictions in
weapon seizure narrative.

Miz Demonstrates contradiction between

> aa versions, procedural fabrication, and
retroactive insertions.

023— Confirms pre-file discovery of

025 petition in Alia’s car; supports claim
of coordination.

Mav 20 Documents tactical deployment,

5001 > seizure of disassembled shotgun, shift
in narrative framing.

May 20 Demonstrates coercive tactic and

> 01 > unlawful pressure absent court

involvement.

Discovery Source

Plaintiff

Defendants (COS-
HOUSER-000446-
459)

Plaintiff exhibit 3

Defendants (COS-
HOUSER-000070)

Plaintiff Exhibit 5

Plaintiff

Defendants (COS-
HOUSER-000066
&000067)

Plaintiff Exhibit 8
